                                                   Case 3:07-cv-05944-JST Document 4738 Filed 08/01/16 Page 1 of 1



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                                             6                                 UNITED STATES DISTRICT COURT
                                             7                              NORTHERN DISTRICT OF CALIFORNIA
                                             8                                       SAN FRANCISCO DIVISION
                                             9
                                                 IN RE: CATHODE RAY TUBE (CRT)                          Master File No. 3:07-cv-05944-JST
                                            10   ANTITRUST LITIGATION                                   MDL No. 1917
R OBINS K APLAN LLP




                                            11                                                          The Honorable Jon S. Tigar
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                                                 This Document Relates to:
                                            12                                                          [PROPOSED] ORDER OF DISMISSAL
                            L OS A NGELES




                                                 Best Buy Co. Inc. et al. v. Hitachi, Ltd. et al.,
                                            13   No. 3:11-cv-05513-JST
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                                            15            The Court having considered the stipulation of the parties, and good cause appearing

                                            16   therefore, orders as follows:

                                            17            1) All claims asserted by Plaintiffs Best Buy Co., Inc., Best Buy Purchasing LLC, Best

                                            18                Buy Enterprise Services, Inc., Best Buy Stores, L.P., and Bestbuy.com, L.L.C. against

                                            19                Defendants Philips Electronics North America Corporation, Koninklijke Philips N.V.

                                            20                (f/k/a Koninklijke Philips Electronics N.V.), Philips Taiwan Limited (f/k/a Philips

                                            21                Electronics Industries (Taiwan) Ltd.), and Philips do Brasil Ltda. (f/k/a Philips da

                                            22                Amazonia Industria Electronica Ltda.) in the underlying action are hereby dismissed

                                            23                with prejudice pursuant to Fed. R. Civ. P. 41(a)(2).

                                            24            2) Each party shall bear its own costs and attorneys’ fees.

                                            25            IT IS SO ORDERED.
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                                                 Dated: August 1, 2016                     _______________________________________
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                                                                                         The Honorable Jon S. Tigar
                                            28                                           UNITED STATES DISTRICT COURT JUDGE

                                                 Master Case No. 3:07-cv-05944-JST               -3-                    [PROPOSED] ORDER OF DISMISSAL
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